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Tom and Susanne Malloy

August 6, 2018 .

The Honorable Leo. T. Sorkin
United States District Court

John Joseph Coakley Courthouse
{ Courthouse Way

Boston, MA 02210

RE: Ross McLellan
Dear Judge Sorkin,

Thank you for giving us the opportunity to provide a character reference for Ross
McLellan. We have been friends and neighbors of Ross for the past 16 years.
We feel very fortunate for Ross’s friendship and greatly appreciate this chance to
share some of our experiences with Ross with you.

We know Ross to be a loving, caring and compassionate husband, father, friend,
neighbor and community volunteer. Living just down the street from the McLellan
family, we get to see and interact with Ross and his family regularly. We are
constantly impressed with his dedication to his family, friends and community.
We always see him outside playing with his children shooting hockey pucks or
playing basketball. He is a supportive father and spends many hours dedicated
to his children's schools and activities.

We have three teenage children who also adore and love Ross. At
neighborhood gatherings he is always the dad who spends countless hours
playing games with the kids and making the kids laugh. Our kids and many
others look forward to the annual games at cookouts. Something we have
noticed over the years is how when the games get very competitive as they often
do with a large group of kids of different ages, Ross is always keeping an eye out
for the child that might need some encouragement to get involved. He is always
there to provide that needed confidence boost. He is an amazing dad with his
own children but his reach extends even further to his neighborhood and his
community. Our middle son had the pleasure to have Ross as a Little League
baseball coach. Just one of many volunteer coaching and community events
that Ross has helped out with over the years. He is someone that you know you
can count on to help wherever and whenever needed.
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On a very personal note, we have relied heavily on Ross’s compassion and
friendship in recent years when our oldest son was diagnosed with an extremely
rare and at the time, life threatening disease. Ross was always there for our
family whether it was a quiet check in to see how we were doing or kind offers of
support and encouragement. We always knew we could count on him for
anything during what was the most difficult time of our lives. He is the type of
friend you know you can count on and he will always be there to help.

Most recently, Ross has been an integral part of a charity fundraiser that our
teenage son started to raise awareness of his rare disease and to benefit the
children’s hospital where he is currently a patient. When we sent out requests for
help with this endeavor, it was no surprise to us that Ross was one of the first to
respond to say that he would help in whatever way we needed assistance. Many
people will offer help in a situation like ours but then life gets busy and it is hard
to help out which is certainly understandable. However over the past two years
during what we know has been the most difficult time in his life, he has helped
out in so many ways to support our charity event and support his friends. He is
always there to help with whatever we need. He often works quietly behind
scenes to get things done. For example, last year at the height of frenetic last
minute event planning he arrived at our door with all the event t-shirts in hand.
Without being asked, he had driven into the city to pick up the shirts for us and
deliver them because he knew everyone was overcommitted with other tasks.

He is a friend who cares deeply about others and is always there to help a friend
in need.

We are not sure we can adequately put into words what a good and decent man
we know Ross McLellan to be but we greatly appreciate this opportunity to tell
you about our friend. Thank you.

Sincerely,

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Tom and Susanne Malloy
